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ANKRUPTCY Clue
To Whom it May Concern, US BANK uPley cor

I would like to object this motion by Tough Mudder INC. as a company you keep a close eye on
your finances in regards to money coming in and out of your business. I purchased the event
ticket in good faith with a group of friends. As a college student, I like many other people work
very hard for my money and it was disappointing to learn the event was cancelled. This event
was going to be our friends group get together event for the summer. I am disappointed in the
company and believe that they should be held liable for reimbursements to all their customers
who purchased event tickets in good faith.

Sincerely,

MM

Stephen Villarreal
